                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
      Plaintiff,                                   )
                                                   )
 v.                                                )     Case No. 4:17CR00234 RLW
                                                   )
 MOHAMMED ALMUTTAN,                                )
                                                   )
      Defendant.                                   )

                               MOTION OF THE UNITED STATES
                             FOR A FINAL ORDER OF FORFEITURE

       COMES NOW the United States of America, by and through its attorneys, Sayler A.

Fleming, United States Attorney for the Eastern District of Missouri, and Kyle T. Bateman,

Assistant United States Attorney for said District, and moves this Court to issue a Final Order of

Forfeiture in the above-captioned case. In support thereof, the United States sets forth the

following:

       1.          On June 7, 2022, this Court entered a Preliminary Order of Forfeiture pursuant to

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461,

ordering the forfeiture of any property, real or personal, which constitutes or is derived from

proceeds traceable to the offense of Conspiracy to Traffic in Contraband Cigarettes, in violation

of Title 18, United States Code, Section 371, and the following property (the “Subject Property”):

             (a)        Approximately $11,677.00 US Currency;

             (b)        Approximately $68,376.00 US Currency;

             (c)        Approximately $2,110.00 US Currency;

             (d)        Approximately $90.00 U.S. Currency;

             (e)        Approximately $880.00 U.S. Currency;
(f)    Approximately $114,580.00 U.S. Currency;

(g)    Approximately $13,144.86 U.S. Currency;

(h)    Approximately $31,989.42 U.S. Currency;

(i)    Approximately $62,640.00 U.S. Currency;

(j)    Approximately $38,631.00 U.S. Currency;

(k)    Approximately $65,039.07 U.S. Currency;

(l)    Approximately $29,426.00 U.S. Currency;

(m)    Approximately $9,360.00 U.S. Currency;

(n)    Approximately $12,980.29 U.S. Currency;

(o)    Approximately $3,505.00 U.S. Currency;

(p)    Approximately $6,585.00 U.S. Currency;

(q)    Approximately $5,840.00 U.S. Currency;

(r)    Approximately $1,130.00 U.S. Currency;

(s)    Approximately $400.00 U.S. Currency;

(t)    Approximately $60.00 U.S. Currency;

(u)    Approximately 33 Money Gram Orders, equal to the amount of $5,170.15

       U.S. Currency;

(v)    Approximately $111,136.99 in funds from First Bank account #...2005;

(w)    Approximately $76,862.95 in funds from First Bank account #...2254;

(x)    Approximately $3,713.35 in funds from Bank of America account #...3953;

(y)    Approximately $4,992.24 in funds from Bank of America account #...5251;

(z)    Approximately $29,878.22 in funds from Bank of America account #...0908;

(aa)   Approximately $3,530.57 in funds from Bank of America account #...0238;
(bb)   Approximately $10,175.01 in funds from Bank of America account #...4066;

(cc)   Approximately $18,771.70 in funds from Bank of America account #...4717;

(dd)   Approximately $8,889.23 U.S. Currency from Bank of America acct#...4901;

(ee)   Approximately $4,620.64 U.S. Currency from Bank of America acct#...5685;

(ff)   Approximately $10,021.45 U.S. Currency from Bank of America

       acct#...7651;

(gg)   Approximately $15,286.26 U.S. Currency from Bank of America acct#...0555;

(hh)   Approximately $7,065.48 U.S. Currency from Bank of America acct#...5060;

(ii)   Approximately $13,804.07 U.S. Currency from Bank of America

       acct#...0070;

(jj)   Approximately $243,317.14 U.S. Currency from First Bank acct#...2199;

(kk)   Approximately $289,547.54 U.S. Currency from First Bank acct#...1268;

(ll)   Approximately $1,842.69 U.S. Currency from First Bank acct#...2306;

(mm)   Approximately $683,850.12 U.S. Currency from Great Southern Bank

       acct#...8246;

(nn)   2014 Ford Taurus, VIN: 1FAHP2H83EG150757;

(oo)   2016 Mercedes Sprinter Van, VIN: WD3PE7DD2GP292946;

(pp)   4,223 cartons of cigarettes;

(qq)   Glock 17 9mm handgun, SN: XAV564;

(rr)   Glock 17 9mm handgun, SN: LN028;

(ss)   Derringer CB9 9mm handgun, SN2: CT166992;

(tt)   North American Arms Magnum .22 handgun, SN: E314745;

(uu)   Rossi 971 .357 revolver, SN: GN743267;
(vv)    Browning Hi-Power MKIIIS .9mm pistol, SN: 511ZW51000;

(ww)    Beretta 9mm pistol, SN: BER460524, including 9mm ammunition and

        magazine;

(xx)    CZ 75 D Compact pistol, SN: B787042, including 9mm magazine;

(yy)    Tavor SAR .223 rifle, SN: T0034719, including .223 ammunition;

(zz)    Eotech gun sight, SN: A0949506 and Sightmark laser sight;

(aaa)   Beretta 9mm pistol, SN: K22828Z, including 9mm ammunition and magazine;

(bbb)   Mosin Nagant rifle, SN: Unknown;

(ccc)   Ruger revolver, SN: 54152385,

(ddd)   Bushmaster XM-15 rifle, SN: BK5205424, including .223 ammunition and

        magazine;

(eee)   Ruger SR9 pistol, SN: 330-66739, including 9mm ammunition and magazine;

(fff)   Rifle scope, SN: 5MM16629;

(ggg)   Steyr M9 9mm handgun, SN: 040956, including 9mm ammunition and

        magazine;

(hhh)   H&R revolver, SN: R16228;

(iii)   Springfield Armory handgun, SN: X5902467, including .380 ammunition and

        magazine;

(jjj)   Smith & Wesson pistol, SN: RBE2632, including .40 caliber ammunition and

        magazine;

(kkk)   Springfield Armory semi-automatic pistol, SN: Unknown, including 9mm

        ammunition and magazine;
(lll)    Sig Sauer handgun, SN: AM161503, including all ammunition and

         magazines;

(mmm) Glock handgun, SN: EBT187US, including all ammunition and magazines;

(nnn)    Feg Hungary handgun, SN: R44735, including all ammunition and magazines;

(ooo)    New England 12 gauge shotgun, SN: NY509895;

(ppp)    Rock River rifle, SN: AV4025159;

(qqq)    Additional miscellaneous ammunition, attachments and magazines;

(rrr)    Hyosung 1500 ATM, Terminal ID# P181843;

(sss)    Hantle 1700 ATM, Terminal ID# P288811;

(ttt)    Hantle 1700 ATM, Terminal ID# P235335;

(uuu)    Hyosung 1500 ATM, Terminal ID# P205196;

(vvv)    Hyosung 1520 ATM, Terminal ID #P297338;

(www) Hyosung 1500 ATM, Terminal ID #P244872;

(xxx)    GenMega 2500 ATM, Terminal ID# P189178;

(yyy)    Tranax 1700 ATM, Terminal ID# P221894;

(zzz)    Hyosung 1800 ATM, Terminal ID# P265004;

(aaaa) Tranax 1700W ATM, Terminal ID# P149717;

(bbbb) Tranax 1700W ATM, Terminal ID# P149722;

(cccc) Hyosung Halo-II ATM, Terminal ID# P149718;

(dddd) Tranax 1700W ATM, Terminal ID# P149724;

(eeee) Hyosung 2700T ATM, Terminal ID# P225185;

(ffff)   Tranax 1700W ATM, Terminal ID# P149715;

(gggg) Approximately 2 gold-colored bracelets;
            (hhhh) Approximately 2 gold-colored rings;

            (iiii)   Gold colored necklace;

            (jjjj)   Rolex white face watch;

            (kkkk) Rolex black face watch;

            (llll)   Police badge;

            (mmmm) Club cards;

            (nnnn) Sams Club membership card;

            (oooo) Approximately 7 EBT cards;

            (pppp) Approximately 5 pre-paid debit cards;

            (qqqq) RJ Reynolds rebate check in the amount of $3,829.20; and

            (rrrr)   RJ Reynolds rebate check in the amount of $12,266.40.

       2.        The United States is not seeking forfeiture of the following property due to the fact

that they were forfeited administratively by the seizing agency: $50,200.00 US Currency;

$2,200.00 U.S. Currency; $1,800.00 U.S. Currency; and a Ruger Single Six .22 revolver, SN:

461454.

       3.        Additionally, the United States is not seeking the forfeiture of the following

property because it was returned by the Drug Enforcement Administration during a parallel

administrative forfeiture proceeding: $522.00 US Currency, and assorted Silver Coins, more

particularly described as thirty-eight (38) 1956-1970 Silver Half Dollars, one (1) 2003 American

Silver Eagle, one (1) 1922 Peace Silver Dollar, four hundred fifty-one (451) Kennedy Half Dollars,

forty-three (43) Eisenhower Silver Dollars, and Six (6) Susan B. Anthony Silver Dollars.
        4.      Based upon the evidence in Defendant’s Plea Agreement, the United States has

established that Defendant had an interest in the Subject Property and that the requisite nexus

exists between the Subject Property and the offense to which Defendant has pleaded guilty.

        5.      Pursuant to Federal Rule of Criminal Procedure Rule 32.2(b)(6) and Title 21,

United States Code, Section 853(n)(1), the United States posted notice of the Preliminary Order

of Forfeiture on an official internet government forfeiture site (www.forfeiture.gov) for at least

30 consecutive days beginning on July 9, 2022, and ending on August 7, 2022. Said published

notice advised all third parties of their right to petition the Court within thirty (30) days of the

publication date for a hearing to adjudicate the validity of their alleged legal interest in the

Subject Property.

        6.      The United States also sent direct written notice, to the extent practicable, to any

person who reasonably appeared to be a potential claimant with standing to contest the forfeiture

in the ancillary proceeding.

        7.      No third party has made any claim to or declared any interest in the Subject Property

within the time permitted under the applicable statutes.

        8.      Because no party has timely filed a petition claiming an interest in the Subject

Property, the Preliminary Order should now be made final pursuant to Federal Rule of Criminal

Procedure 32.2(c)(2).

        WHEREFORE, pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, the

United States moves this Court for a Final Order of Forfeiture declaring the Subject Property as

set forth in paragraph 1 above to be forfeited as to all parties, vesting full right, title, and interest

in the Subject Property in the United States, directing that the Subject Property be disposed of
according to law. The United States submits herewith its proposed Final Order of Forfeiture.




  Dated: October 16, 2023                       Respectfully submitted,

                                                SAYLER A. FLEMING
                                                United States Attorney

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